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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA
                                             Case No. 02-CR-80720
      vs.
                                             HON. VICTORIA A. ROBERTS
ISSA ZUMOT

       Defendant.
                                         /

                           ORDER TO REDUCE TERM
                      OF IMPRISONMENT TO TIME SERVED

      BEFORE THE COURT is a motion filed by the United States of America

and the Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. §

3582(c)(1)(A)(i), seeking a modification of the term of imprisonment of the

defendant, Issa Zumot, to time served and commencement of the two-year term of

supervised release previously imposed. The Court finds:

      1. Issa Zumot pled guilty to violating 21 U.S.C. § 846 and 21 U.S.C. §

841(c)(2), Conspiracy to Distribute a Listed Chemical. He was sentenced on June 24,

2008, to a 168-month term of imprisonment, followed by a two-year term of

supervised release.

   2. Defendant, age 66, suffers from dementia, chronic obstructive pulmonary

disease, and macular degeneration. He requires staff assistance with set-up,
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toileting, dressing, and transfers. He is confined to a bed or wheelchair throughout

the day.


      3. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the

Director of the Bureau of Prisons, to modify a term of imprisonment upon the finding

that extraordinary and compelling reasons warrant the reduction. The Director of the

Bureau of Prisons contends, and this Court agrees, that the defendant's debilitated

status constitutes extraordinary and compelling reasons that warrant the requested

reduction.

      IT IS THEREFORE ORDERED that the defendant's term of imprisonment

is hereby reduced to the time he has already served.

      IT IS FURTHER ORDERED that the defendant shall be released from the

custody of the Federal Bureau of Prisons as soon as the release plan is implemented,

and travel arrangements can be made.

      IT IS FURTHER ORDERED that upon his release from the custody of the

Federal Bureau of Prisons, the defendant shall begin serving the two-year term of

supervised release previously imposed.

      IT IS SO ORDERED.

DATED: February 10, 2015               S/Victoria A. Roberts
                                       HON. VICTORIA A. ROBERTS
                                       UNITED STATES DISTRICT JUDGE




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